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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION
BRENDA MARTINIS,
             Plaintiff,                          Case No. 5:21-cv-00612-GAP-PRL
vs.
LIFE INSURANCE COMPANY OF
NORTH AMERICA,
             Defendant
                                             /

        JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
      COME NOW the Plaintiff and Defendant, by and through their undersigned

attorneys, and hereby stipulate and agree that this action shall be dismissed with

prejudice, with each party to bear its own fees and costs.

      DATED this 22nd day of June, 2022.

 DABDOUB LAW FIRM.                               HINSHAW & CULBERTSON, LLP


 s/ Tanja Vucetic Perez                          s/ Steven D. Lehner
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